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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 4:10-CR-073-BLW

                      Plaintiff,
                                                  ORDER
        v.

 LUIS ANGEL CRUZ-JIMENEZ,

                      Defendant.



       Defendant Luis Angel Cruz-Jimenez is charged in a Second Superseding

Indictment with certain drug crimes. Cruz-Jimenez is one of ten co-defendants in the

case. At his arraignment, trial for Cruz-Jimenez was set for November 1, 2010. The trial

for all of Cruz-Jimenez’s co-defendants, except one who has not yet been arraigned, is set

for November 29, 2010. No motion for severance has been filed.

       Under these circumstances, the Court will move Cruz-Jimenez’s trial from

November 1, 2010 to November 29, 2010 with his codefendants. The Speedy Trial Act

authorizes excludable time in this circumstance. Specifically, under 18 U.S.C.

§ 3161(h)(6), excludable time is authorized for “[a] reasonable period of delay when the

defendant is joined for trial with a codefendant as to whom the time for trial has not run

and no motion for severance has been granted.” 18 U.S.C. § 3161(h)(6). Accordingly,
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                                        ORDER

      NOW THEREFORE IT IS HEREBY ORDERED that Defendant Luis Angel

Cruz-Jimenez’s present trial date be VACATED, and that a new trial be set for

November 29, 2010 at 1:30 p.m. in the U.S. Courthouse in Pocatello, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6).

      IT IS FURTHER ORDERED that the current trial readiness conference Defendant

Luis Angel Cruz-Jimenez be VACATED, and that a new trial readiness conference be

conducted by telephone on November 18, 2010 at 4:00 p.m. The Government shall place

the call to (208) 334-9145 with opposing counsel on the line.




                                         DATED: October 20, 2010




                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge
